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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DIVISION
                                 www.flsb.uscourts.gov


      In re                                )         Case No.: 22-10014-SMG
      LORENZO ANDREW ALLEN,                )
            Debtor                         )         Chapter 13
                                           )
      LORENZO A. ALLEN,                    )
           Plaintiff                       )         Adversary No. - - - - - - -
                                           )
      Vs.                                  )
                                           )
      THE BANK OF NEW YORK                 )
      F/K/A/THEBANKOFNEW AS                )
      SUCCESSOR TO JPMORGAN                )
      CHASE BANK, N.A., AS TRUS-           )
      TEE FPR ASSET BACKED                 )
      FUNDING CORPORATION AS-              )
      SET BACKED CERTIFICATES,             )
      SERIES 2003-AHLI; HINSHAW            )
      & CULBERTSON; and PETER              )
      HERNANDEZ, Esq.                      )

                                     COMPLAINT

      Plaintiff LORENZO A. ALLEN (hereinafter "Plaintiff''), files this complaint

against the Bank of New York Mellon f/k/a the Bank of New York as Successor to

JPMorgan Chase Bank, N.A., as Trustee for Asset Backed Funding Corporation Asset-

Backed Certificates, Series 2003-AHLI" (hereinafter, "BONY" or the "Defendant

BONY"); Hinshaw & Culbertson, LLP ("HINSHAW" or "Defendant HINSHAW");

Attorney    Peter   A.   Hernandez   (hereinafter,    "HERNANDEZ"        or   Defendant

HERNANDEZ), and states:
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                                 JURISDICTION

1. This is an adversary proceeding in which the Plaintiff is seeking actual and statutory

   damages due to Defendants BONY, HINSHAW; and HERNANDEZ' violations of

   the Florida Consumer Collection Practices Act ("FCCPA"), Fla. Stat. § 559.55 et

   seq.

2. This Court has jurisdiction pursuant to 28 U.S.C. §§ 157 and 1334.

3. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(1), and this Court has

   jurisdiction to enter final orders pursuant to Stern v. Marshall, 564 U.S. 462 (2011)

   and its progeny.

4. Plaintiff has standing to bring this action pursuant to Fla Stat. § 559.55 et seq.

5. Venue is proper pursuant to 28 U.S.C. § 1409(a).

                                       PARTIES

6. At all material times herein, the conduct of the Defendants, complained of below,

   occurred in Broward County, Florida.

7. At all material times herein, Plaintiff Lorenzo Allen is an individual residing in

   Broward County, Florida.

8. At all times material hereto, Defendant BONY was and appears to be a New York

   Corporation with its principal place of business located at 240 Greenwich Street,

   New York, NY 10286.          Defendant BONY lists its registered agent as CT

   Corporation System, 1200 S. Pine Island Road, Plantation, FL 33324. Defendant

   BONY, itself and through its subsidiaries, regularly extends, services, and collects

   debts from consumers in Broward County.
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9. At all times material hereto, the Defendant BONY is and was a "creditor" as that

   term is defined in F.S. § 559.55(5).

10. At all times material hereto, Defendant HINSHAW was and is a Florida for-profit

   corporation with its principal place of business located at 201 E. Las Olas

   Boulevard, Suite 1450, Fort Lauderdale, FL 33301. Defendant HINSHAW, does

   itself, and through its subsidiaries, regularly collects debts from consumers in

   Broward County, Florida.         Through information and belief, HINSHAW's

   registered agent is as Hinshaw & Culbertson, LLP, at 201 E. Las Olas Boulevard,

   Suite 1450, Fort Lauderdale, FL 33301.

11. At all times material hereto, Defendant HERNANDEZ is, sui juris, and who at all

   times relevant hereto was and is a member of the Florida Bar. Defendant

   HERNANDEZ was and is an individual with his principal place of business located

   at 201 E. Las Olas Boulevard, Suite 1450, Fort Lauderdale, FL 33301. Defendant

   HERNANDEZ, does himself, and through his subsidiaries, regularly collects debts

   from consumers in Broward County, Florida. Through information and belief,

   HERNANDEZ's registered agent is as Hinshaw & Culbertson, LLP, at 201 E. Las

   Olas Boulevard, Suite 1450, Fort Lauderdale, FL 33301.

12. At all material times herein, the Defendants used instrumentalities of interstate

   commerce or the mails in a business the principal purpose of which is the collection

   of debts.

13. At all material times herein, Defendants HINSHAW and HERNANDEZ regularly

   collects or attempts to collect, directly or indirectly, debts owed or due or asserted

   to be owed or due another.
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14. Additionally, Defendants HINSHAW and HERNANDEZ regularly collects

   debts-on behalf of others-in this District by suing hundreds of consumers for

   mortgage foreclosure, and in such instances, Defendants HINSHAW and

   HERNANDEZ generally seeks a judgment on the note and reservation of

   jurisdiction for enforcement of a deficiency judgment.

15. At all material times herein, Defendants are "debt collectors" as defined by the

   FCCPA, and as supported by the allegations above.

16. Additionally, Defendants HINSHAW and HERNANDEZ regularly collects

   debts-on behalf of others-in this District by suing hundreds of consumers for

   mortgage foreclosure, and in such instances, Defendants HINSHAW and

   HERNANDEZ generally seeks a judgment on the note and reservation of

   jurisdiction for enforcement of a deficiency judgment

17. In Broward County alone, a search of court docket filings shows that Defendants

   HINSHAW and HERNANDEZ has attempted (or is attempting) to collect debt

   from consumers-on behalf of others-via the filing of lawsuits.

18. At all material times herein, HINSHAW and HERNANDEZ, are and were agents

   ofBONY.

19. At all material times herein, Defendant HERNANDEZ acted on his own and/or

   through Defendants BONY and HINSHAW.

20. At all material times herein, the Defendants attempted to collect a debt allegedly

   incurred incident to a mortgage encumbering Plaintiff's homestead residence

   (hereinafter, the "Debt").
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21. At all material times herein, the Debt is a consumer debt, incurred primarily for

   personal, household, or family use.

22. At all material times herein, the Defendant's conduct, with respect to the Debt

   complained of below, qualifies as "communication" as defined by the FCCPA.

23. Specifically, at all material times herein, the Defendants email communications on

   February 9, 2022, February 15, 2022, February 18, 2022, February 21, 2022 and

   again on February 27, 2022 (see Exhibits "A- E" below), qualifies as such

   communication. Moreover, each of those email communications are subject to this

   complaint (as defined infra), and were each a "claim, attempt, or threat to enforce

   a debt" as defined by Florida Statutes, Section 559.72(9).

24. At all material times herein, Defendants acted themselves or through their agents,

   employees, officers, members, directors, successors, assigns, principals, trustees,

   sureties, subrogees, representatives, third-party vendors, and insurers.

25. At all material times herein, Defendants are each a "person" subject to Florida

   Statutes, Section 559.72. See Fla. Stat. § 559.55(5); Schauer v. General Motors

   Acceptance Corp., 819 So. 2d 809 (Fla. 4th DCA 2002).

26. At all material times herein, HINSHAW and HERNANDEZ acted on behalf of,

   with the approval of, and with full authority on behalf of BONY, within the scope

   of HINSHAW and HERNANDEZ' agency and creditor-debt collector relationship

   with BONY.

27. All necessary conditions precedent to the filing of this action occurred or

   Defendants waived the same.
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  28. At all times material hereto, Plaintiff Lorenzo Allen owned and continues to own

     the subject property, which is located in Broward County, Florida.

  29. At all material times herein, Plaintiff is a "debtor(s)" or "consumer(s)" as defined

     by the FCCPA.

  30. The Subject Property is a residential single-family home structure.

  31. Plaintiff is a natural person residing in Parkland, Florida.

PREFACE

  32. Here, the Defendants BONY, HINSHAW and HERNANDEZ (collectively, the

     "Defendants")     willfully   communicated       (via   several    emails)     with   the

     Plaintiff/Debtor Lorenzo Allen, and did so with such a frequency designed to harass

     and abuse the Plaintiff/Debtor. Moreover, the Defendants willfully engaged in

     other conduct (scheduling an inappropriate state Court hearing), in order to abuse

     and harass the Plaintiff/Debtor even more.

  33. The Defendants, by repeatedly sending Plaintiff harassing emails in an attempt to

     trick the Plaintiff/Debtor into agreeing to the entry of a state Court final judgment,

     when they knew that they were not yet entitled to such final judgment, violated

     Florida law. Therefore, via their repeated emails, the Defendants falsely asserted

     the existence of a legal right - the right to a state Court Final Judgment, that they

     knew did not exist.

  34. Indeed, by repeatedly attempting to obtain a state Court fmal judgment, the

     Defendants claimed, attempted, and threaten to enforce a debt (the Mortgage Note),

     when each of the Defendants knew that they were asserting the existence of the
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   right to enforce the alleged debt, even though they knew that such right did not did

   not exist at the time.

35. Finally, the Defendants, through their repeated harassing emails, directly

   communicated with the Plaintiff/Debtor, when each of the Defendants knew that

   the Debtor/Plaintiff Lorenzo Allen, was, and still is, represented by an attorney with

   respect to the aforementioned debt. Moreover, the Defendants (by appearing in the

   underlying chapter 13 bankruptcy case), clearly had knowledge of the Plaintiff

   attorney's name and address, but, prior to initiating their harassing email campaign,

   made no attempts whatsoever to contact the Debtor's attorney.

                            BACKGROUND FACTS

36. On or before February 5, 2022, the Plaintiff Lorenzo Allen's bankruptcy attorney

   appeared in this instant case and filed several documents on the Plaintiff/Debtor's

   behalf. [ECF Nos. 15-19].

37. On February 7, 2022, the Plaintiff's attorney filed a Motion to reinstate this chapter

   13 bankruptcy case, which the Court granted on February 18, 2022. [ECF Nos. 20

   and 23].

38. On February 9, 2022, Defendants BONY and HERNANDEZ (despite the automatic

   stay being in place), file a motion in the 1Jth Judicial Circuit Court (the "state

   Court").     Shortly after filing their motion in the state Court, Defendant

   HERNANDEZ (despite knowing that the Plaintiff Lorenzo Allen was then,

   represented by counsel), chose to "communicate" with the Plaintiff via email, by

   requesting that he [the represented Plaintiff/Debtor] "approve" or agree with the

   entry of an amended final judgment.         A copy of Defendant HERNANDEZ'
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   February 9, 2022 email communication with the represented Plaintiff, is attached

   hereto as Exhibit "A".

39. On February 15, 2022, Defendant BONY, by and through Defendant

   HERNANDEZ, once again chose to communicate with the represented Plaintiff,

   by sending him [plaintiff] a "follow-up" email - essentially harassing and

   attempting to deceive the Plaintiff into "approving" something that's not in the

   Plaintiffs best interest - the re-entry of the void final judgment. A copy of

   Defendant HERNANDEZ' February_ l 5, 2022 email harassing and attempting to

   deceive an unsophisticated Plaintiff, is attached hereto as Exhibit "B".

40. On February 18, 2022, this Court entered an order reinstating this instant

   bankruptcy case, and immediately thereafter, the Plaintiff file and served an

   amended "suggestion of bankruptcy" in the state Court. Shockingly however,

   HERNANDEZ (after acknowledging the reinstatement of this instant bankruptcy

   case), chose to continue communicating with, and harassing the Plaintiff into

   "approving" or agreeing to a state Court final judgment. A copy of HERNANDEZ'

   February 18, 2022 email harassing and attempting to deceive an unsophisticated

   Plaintiff, is attached hereto as Exhibit "C".

41. On February 21, 2022 (three days after this instant case was reinstated)

   HERNANDEZ, once again sent a harassing email to the represented Plaintiff,

   which essentially threatens the Plaintiff to "approve" the motion for final judgment

   or face a state court hearing on the matter. A copy of HERNANDEZ' February 21,

   2022 email harassing and attempting to deceive an unsophisticated Plaintiff, is

   attached hereto as Exhibit "D".
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42. On February 27, 2022, HERNANDEZ continued harassing and attempting to

   deceive the represented Plaintiff by communicating with him via yet another email,

   this time, giving the Plaintiff a March 1, 2022 deadline to approve and agree with

   HERNANDEZ' motion for a post-petition final judgment, or face having to attend

   a hearing on the matter. A copy of HERNANDEZ' February 27, 2022 email

   harassing and attempting to deceive an unsophisticated Plaintiff, is attached hereto

   as Exhibit "E".

43. On March 15, 2022, HERNANDEZ, on behalf of creditor BONY, fulfilled his

   repeated threats by scheduling a hearing to occur in the state Court on March 28,

   2022 - all while the Plaintiff's chapter 13 bankruptcy case is pending before this

   Court; and while the Defendants BONY and HERNANDEZ knew Plaintiff was

   represented by counsel. A copy of HERNANDEZ' March 15, 2022 email harassing

   and attempting to deceive an unsophisticated Plaintiff, is attached hereto as Exhibit

   "F".

                                       COUNT!

           DEFENDANTS BONY, HINSHAW and HERNANDEZ
              VIOLATON OF THE FLORIDA CONSUMER
                  COLLECTION PRACTICES ACT
                    (F.S. § 559. 72(7), (9) and (18))

44. Plaintiff repeat and realleges paragraphs I through 43 with the same force and effect

   as though fully set forth herein.

45. Florida Statutes§ 559.72 (7) provides that:

           "in collecting consumer debts, no person shall willfully communicate with
           the debtor or any member of her or his family with such frequency as can
           reasonably be expected to harass the debtor or her or his family, or willfully
           engage in other conduct which can reasonably be expected to abuse or
           harass the debtor or any member of her or his family."
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46. Florida Statutes § 559. 72 (9) provides that:

           "in collecting consumer debts, no person shall claim, attempt, or threaten to
           enforce a debt when such person knows that the debt is not legitimate, or
           assert the existence of some other legal right when such person knows that
           the right does not exist."

47. Florida Statutes§ 559.72 (18) provides that:

           "in collecting consumer debts, no person shall communicate with a debtor
           if the person knows that the debtor is represented by an attorney with respect
           to such debt and has knowledge of, or can readily ascertain, such attorney's
           name and address, unless the debtor's attorney fails to respond within 30
           days to a communication from the person, unless the debtor's attorney
           consents to a direct communication with the debtor, or unless the debtor
           initiates the communication.

48. Thus, by sending or causing to be sent Exhibit "A" on February 9, 2022 while

    Plaintiff/Debtor Lorenzo Allen was protected by the bankruptcy automatic stay and

    represented by counsel with respect to the debt in question, Defendants BONY,

    HINSHAW and HERNANDEZ violated§§ 559.72 (7), (9), and (18), Fla. Stat.

49. Defendants BONY, HINSHAW and HERNANDEZ are all subject to, and each

    violated the provisions of Florida Statutes, sections §§ 559.72 (7), (9), and (18),

    Fla. Stat.

50. As a direct and proximate result of the Defendant's actions, Plaintiff sustained

    damages as defined by Florida Statutes, Section 559.77.

51. The Debtor has, is continuing to, and will suffer actual damages in the form of

    attorney fees, emotional distress, anxiety, and the constant fear of losing his home,

    worry, embarrassment, and anguish as a result of the ongoing stay violations and

    other egregious conduct on the part of the Creditor BANK of NY, and/or its agents.
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WHEREFORE, Plaintiff/Debtor Lorenzo Allen demands judgment against BONY,

HINSHAW and HERNANDEZ for actual damages, injunctive relief, and statutory

damages of $1,000 each.

                                          COUNT II

              DEFENDANTS BONY, HINSHAW and HERNANDEZ
                 VIOLATON OF THE FLORIDA CONSUMER
                     COLLECTION PRACTICES ACT
                       (F.S. § 559. 72(7), (9) and (18))

   52. Plaintiff repeat and realleges paragraphs 1 through 51 with the same force and effect

      as though fully set forth herein.

   53. Florida Statutes§ 559.72 (7) provides that:

              "in collecting consumer debts, no person shall willfully communicate with
              the debtor or any member of her or his family with such frequency as can
              reasonably be expected to harass the debtor or her or his family, or willfully
              engage in other conduct which can reasonably be expected to abuse or
              harass the debtor or any member of her or his family."

   54. Florida Statutes § 559. 72 (9) provides that:

              "in collecting consumer debts, no person shall claim, attempt, or threaten to
              enforce a debt when such person knows that the debt is not legitimate, or
              assert the existence of some other legal right when such person knows that
              the right does not exist."

   55. Florida Statutes§ 559.72 (18) provides that:

              "in collecting consumer debts, no person shall communicate with a debtor
              if the person knows that the debtor is represented by an attorney with respect
              to such debt and has knowledge of, or can readily ascertain, such attorney's
              name and address, unless the debtor's attorney fails to respond within 30
              days to a communication from the person, unless the debtor's attorney
              consents to a direct communication with the debtor, or unless the debtor
              initiates the communication.

   56. Thus, by sending or causing to be sent Exhibit "B" on February 15, 2022 while

       Plaintiff/Debtor Lorenzo Allen was protected by the bankruptcy automatic stay and
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       represented by counsel with respect to the debt in question, Defendants BONY,

       HINSHAW and HERNANDEZ violated§§ 559.72 (7), (9), and (18), Fla. Stat.

   57. Defendants BONY, HINSHAW and HERNANDEZ are all subject to, and each

       violated the provisions of Florida Statutes, sections §§ 559.72 (7), (9), and (18),

       Fla. Stat.

   58. As a direct and proximate result of the Defendant's actions, Plaintiff sustained

      damages as defined by Florida Statutes, Section 559.77.

   59. The Debtor has, is continuing to, and will suffer actual damages in the form of

      attorney fees, emotional distress, anxiety, and the constant fear of losing his home,

      worry, embarrassment, and anguish as a result of the ongoing stay violations and

      other egregious conduct on the part of the Creditor BANK of NY, and/or its agents.

WHEREFORE, Plaintiff/Debtor Lorenzo Allen demands judgment against BONY,

HINSHAW and HERNANDEZ for actual damages, injunctive relief, and statutory

damages of $1,000 each.

                                          COUNTIII

               DEFENDANTS BONY, HINSHAW and HERNANDEZ
                  VIOLATON OF THE FLORIDA CONSUMER
                      COLLECTION PRACTICES ACT
                        (F.S. § 559. 72(7), (9) and (18))

   60. Plaintiff repeat and realleges paragraphs 1 through 59 with the same force and effect

      as though fully set forth herein.

   61. Florida Statutes§ 559.72 (7) provides that:

               "in collecting consumer debts, no person shall willfully communicate with
               the debtor or any member of her or his family with such frequency as can
               reasonably be expected to harass the debtor or her or his family, or willfully
               engage in other conduct which can reasonably be expected to abuse or
               harass the debtor or any member of her or his family."
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62. Florida Statutes§ 559.72 (9) provides that:

           "in collecting consumer debts, no person shall claim, attempt, or threaten to
           enforce a debt when such person knows that the debt is not legitimate, or
           assert the existence of some other legal right when such person knows that
           the right does not exist."

63. Florida Statutes§ 559.72 (18) provides that:

           "in collecting consumer debts, no person shall communicate with a debtor
           if the person knows that the debtor is represented by an attorney with respect
           to such debt and has knowledge of, or can readily ascertain, such attorney's
           name and address, unless the debtor's attorney fails to respond within 30
           days to a communication from the person, unless the debtor's attorney
           consents to a direct communication with the debtor, or unless the debtor
           initiates the communication.

64. Thus, by sending or causing to be sent Exhibit "C" on February 18, 2022 while

   Plaintiff/Debtor Lorenzo Allen was protected by the bankruptcy automatic stay and

   represented by counsel with respect to the debt in question, Defendants BONY,

   HINSHAW and HERNANDEZ violated§§ 559.72 (7), (9), and (18), Fla. Stat.

65. Defendants BONY, HINSHAW and HERNANDEZ are all subject to, and each

   violated the provisions of Florida Statutes, sections §§ 559.72 (7), (9), and (18),

   Fla. Stat.

66. As a direct and proximate result of the Defendant's actions, Plaintiff sustained

   damages as defined by Florida Statutes, Section 559.77.

67. The Debtor has, is continuing to, and will suffer actual damages in the form of

   attorney fees, emotional distress, anxiety, and the constant fear of losing his home,

   worry, embarrassment, and anguish as a result of the ongoing stay violations and

   other egregious conduct on the part of the Creditor BANK of NY, and/or its agents.
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WHEREFORE, Plaintiff/Debtor Lorenzo Allen demands judgment against BONY,

HINSHAW and HERNANDEZ for actual damages, injunctive relief, and statutory

damages of $1,000 each.

                                       COUNTIV

           DEFENDANTS BONY, IDNSHAWand HERNANDEZ
              VIOLATON OF THE FLORIDA CONSUMER
                  COLLECTION PRACTICES ACT
                    (F.S. § 559. 72(7), (9) and (18))

68. Plaintiff repeat and realleges paragraphs I through 67 with the same force and effect

   as though fully set forth herein.

69. Florida Statutes§ 559.72 (7) provides that:

           "in collecting consumer debts, no person shall willfully communicate with
           the debtor or any member of her or his family with such frequency as can
           reasonably be expected to harass the debtor or her or his family, or willfully
           engage in other conduct which can reasonably be expected to abuse or
           harass the debtor or any member of her or his family."

70. Florida Statutes§ 559.72 (9) provides that:

           "in collecting consumer debts, no person shall claim, attempt, or threaten to
           enforce a debt when such person knows that the debt is not legitimate, or
           assert the existence of some other legal right when such person knows that
           the right does not exist."

71. Florida Statutes§ 559.72 (18) provides that:

           "in collecting consumer debts, no person shall communicate with a debtor
           if the person knows that the debtor is represented by an attorney with respect
           to such debt and has knowledge of, or can readily ascertain, such attorney's
           name and address, unless the debtor's attorney fails to respond within 30
           days to a communication from the person, unless the debtor's attorney
           consents to a direct communication with the debtor, or unless the debtor
           initiates the communication.

72. Thus, by sending or causing to be sent Exhibit "D" on February 21, 2022 while

   Plaintiff/Debtor Lorenzo Allen was protected by the bankruptcy automatic stay and
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       represented by counsel with respect to the debt in question, Defendants BONY,

       HINSHAW and HERNANDEZ violated§§ 559.72 (7), (9), and (18), Fla. Stat.

   73. Defendants BONY, HINSHAW and HERNANDEZ are all subject to, and each

       violated the provisions of Florida Statutes, sections §§ 559.72 (7), (9), and (18),

       Fla. Stat.

   74. As a direct and proximate result of the Defendant's actions, Plaintiff sustained

       damages as defined by Florida Statutes, Section 559.77.

   75. The Debtor has, is continuing to, and will suffer actual damages in the form of

       attorney fees, emotional distress, anxiety, and the constant fear of losing his home,

       worry, embarrassment, and anguish as a result of the ongoing stay violations and

       other egregious conduct on the part of the Creditor BANK of NY, and/or its agents.

WHEREFORE, Plaintiff/Debtor Lorenzo Allen demands judgment against BONY,

HINSHAW and HERNANDEZ for actual damages, injunctive relief, and statutory

damages of $1,000 each.

                                          COUNTV

               DEFENDANTS BONY, IDNSHAWand HERNANDEZ
                  VIOLATON OF THE FLORIDA CONSUMER
                      COLLECTION PRACTICES ACT
                        (F.S. § 559.72(7), (9) and (18))

   76. Plaintiff repeat and realleges paragraphs 1 through 75 with the same force and effect

      as though fully set forth herein.

   77. Florida Statutes§ 559.72 (7) provides that:

               "in collecting consumer debts, no person shall willfully communicate with
               the debtor or any member of her or his family with such frequency as can
               reasonably be expected to harass the debtor or her or his family, or willfully
               engage in other conduct which can reasonably be expected to abuse or
               harass the debtor or any member of her or his family."
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78. Florida Statutes§ 559.72 (9) provides that:

           "in collecting consumer debts, no person shall claim, attempt, or threaten to
           enforce a debt when such person knows that the debt is not legitimate, or
           assert the existence of some other legal right when such person knows that
           the right does not exist."

79. Florida Statutes§ 559.72 (18) provides that:

           "in collecting consumer debts, no person shall communicate with a debtor
           if the person knows that the debtor is represented by an attorney with respect
           to such debt and has knowledge of, or can readily ascertain, such attorney's
           name and address, unless the debtor's attorney fails to respond within 30
           days to a communication from the person, unless the debtor's attorney
           consents to a direct communication with the debtor, or unless the debtor
           initiates the communication.

80. Thus, by sending or causing to be sent Exhibit "E" on February 27, 2022 while

   Plaintiff/Debtor Lorenzo Allen was protected by the bankruptcy automatic stay and

   represented by counsel with respect to the debt in question, Defendants BONY,

   HINSHAW and HERNANDEZ violated§§ 559.72 (7), (9), and (18), Fla. Stat.

81. Defendants BONY, HINSHAW and HERNANDEZ are all subject to, and each

   violated the provisions of Florida Statutes, sections §§ 559.72 (7), (9), and (18),

   Fla. Stat.

82. As a direct and proximate result of the Defendant's actions, Plaintiff sustained

   damages as defined by Florida Statutes, Section 559.77.

83. The Debtor has, is continuing to, and will suffer actual damages in the form of

   attorney fees, emotional distress, anxiety, and the constant fear of losing his home,

   worry, embarrassment, and anguish as a result of the ongoing stay violations and

   other egregious conduct on the part of the Creditor BANK of NY, and/or its agents.
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WHEREFORE, Plaintiff/Debtor Lorenzo Allen demands judgment against BONY,

HINSHAW and HERNANDEZ for actual damages, injunctive relief, and statutory

damages of $1,000 each.

                                PRAYER FOR RELIEF

       WHEREFORE, Plaintiff/Debtor Lorenzo Allen demands judgment against

       BONY, HINSHAW and HERNANDEZ and as a direct and proximate result of the

       Defendants' conduct, Plaintiff respectfully request:

a. Judgment against Defendants declaring that each of the Defendants violated the FCCPA;
b. Judgment against the Defendants for maximum statutory damages for violations of the
FCCPA;
d. Actual damages in an amount to be determined at trial;
e. Punitive damages in an amount to be determined at trial;
f. An award of attorneys' fees and costs; and
g. Any other such relief the Court may deem proper.

                            DEMAND FOR JURY TRIAL

   1. Plaintiff hereby demand a trial by jury on all issues triable by right.


Respectfully submitted,



~.~:"~
6207 NW 66th Way
Parkland, Florida 33067
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    Exhibit A
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-----Original Message-----

From: Hernandez, Peter A.<PAHernandez@hinshawlaw.com>

To: lorenzo allen <poboy62@aol.com>

Cc: Fernandez, Barbara <bfernandez@hinshawlaw.com>

Sent: Wed, Feb 9, 2022 3:40 pm

Subject: Bank of New York Mellon v. Juanita Allen/ Case no. CACE14009009 / Motion to Vacate

Good afternoon Mr. Allen,

I am writing to provide a copy of the Motion to Vacate Final Judgment and for Entry of Amended Final
Judgment of Foreclosure.

Attached please find an Agreed Order granting the motion. Please confirm your approval in order to
submit the proposed order to the Court for consideration.

Thank you,

Peter A. Hernandez, Esq.

Hinshaw & Culbertson LLP

2525 Ponce de Leon Blvd, 4th Floor, Coral Gables, FL 33134

305-428-5071 I Fax: 305-577-1063

PAHernandez@hinshawlaw.com I hinshawlaw.com

2 attachments

Motion To Vacate Final Judgment.pdf

515K
Allen, Juanita - Order on Plaintiff Motion to Vacate Judgment.DOCX

37K
Case 22-10014-SMG   Doc 102   Filed 09/15/23   Page 20 of 27




    Exhibit B
              Case 22-10014-SMG         Doc 102      Filed 09/15/23     Page 21 of 27



-----Original Message-----

From: Hernandez, Peter A.<PAHernandez@hinshawlaw.com>

To: lorenzo allen <poboy62@aol.com>

Cc: Fernandez, Barbara <bfernandez@hinshawlaw.com>; Connolly, Doreen
<DConnolly@hinshawlaw.com>

Sent: Tue, Feb 15, 2022 2:53 pm

Subject: FW: Bank of New York Mellon v. Juanita Allen/ Case no. CACE14009009 / Motion to Vacate

Mr. Allen,

I am writing to follow up on the proposed Agreed Order. Please confirm I have your approval to submit
the order.

Thank you,

Peter A. Hernandez, Esq.

Hinshaw & Culbertson LLP

2525 Ponce de Leon Blvd, 4th Floor, Coral Gables, FL 33134

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Case 22-10014-SMG   Doc 102   Filed 09/15/23   Page 22 of 27




    Exhibit C
             Case 22-10014-SMG           Doc 102     Filed 09/15/23      Page 23 of 27



----- Forwarded Message -----

From: Hernandez, Peter A.<pahernandez@hinshawlaw.com>

To: lorenzo allen <poboy62@aol.com>

Cc: Fernandez, Barbara <bfernandez@hinshawlaw.com>; Connolly, Doreen
<dconnolly@hinshawlaw.com>

Sent: Friday, February 18, 2022, 11:26:53 AM EST

Subject: RE: Bank of New York Mellon v. Juanita Allen/ Case no. CACE14009009 / Motion to Vacate

Mr. Allen,

In light of the Amended Suggestion of Bankruptcy filed today notifying that the bankruptcy proceedings
have been reinstated, attached please find a revised Agreed Order granting in part Plaintiff's Motion.
Please review and advise if we have your approval to submit the proposed order for the Court's
consideration.

Thank you,

Peter A. Hernandez, Esq.

Hinshaw & Culbertson LLP

2525 Ponce de Leon Blvd, 4th Floor, Coral Gables, FL 33134

305-428-5071 I Fax: 305-577-1063

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Case 22-10014-SMG   Doc 102   Filed 09/15/23   Page 24 of 27




   Exhibit D
              Case 22-10014-SMG          Doc 102      Filed 09/15/23    Page 25 of 27



----Original Message-----

From: Hernandez, Peter A.<PAHernandez@hinshawlaw.com>

To: lorenzo allen <poboy62@aol.com>

Cc: Fernandez, Barbara <bfernandez@hinshawlaw.com>; Connolly, Doreen
<DConnolly@hinshawlaw.com>

Sent: Mon, Feb 21, 2022 11:05 pm

Subject: RE: Bank of New York Mellon v. Juanita Allen/ Case no. CACE14009009 / Motion to Vacate

Mr. Allen,

Should we proceed to schedule a hearing on the motion to vacate or do you approve of the revised
order?

Thank you,

Peter A. Hernandez, Esq.

Hinshaw & Culbertson LLP

2525 Ponce de Leon Blvd, 4th Floor, Coral Gables, FL 33134

305-428-5071 I Fax: 305-577-1063

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   Exhibit E
              Case 22-10014-SMG          Doc 102     Filed 09/15/23      Page 27 of 27



-----Original Message-----

From: Hernandez, Peter A.<PAHernandez@hinshawlaw.com>

To: lorenzo allen <poboy62@aol.com>

Cc: Fernandez, Barbara <bfernandez@hinshawlaw.com>; Connolly, Doreen
<DConnolly@hinshawlaw.com>

Sent: Sun, Feb 27, 2022 9:54 am

Subject: RE: Bank of New York Mellon v. Juanita Allen/ Case no. CACE14009009 / Motion to Vacate

Mr. Allen,

I do not see a response from you approving the proposed agreed order vacating the judgment. Please
let me know by Tuesday, March 1, 2022 or I will have my assistant schedule a hearing on the motion.
